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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

 RACHEL RAAK LAW and MICAH                             )
 BROEKEMEIER, individuals,                             )   Case No. 4:22-cv-00176-SMR-SHL
                                                       )
        Plaintiffs,                                    )
                                                       )
        v.                                             )     DECLARATION OF RACHEL
                                                       )     RAAK LAW IN SUPPORT OF
 ROBERT GAST, in his official capacity as              )      PLAINTIFFS’ MOTION FOR
 State Court Administrator for the Iowa                )     PRELIMINARY INJUNCTION
 Judicial Branch,                                      )
                                                       )
        Defendant.                                     )



                            DECLARATION OF RACHEL RAAK LAW

I, Rachel Raak Law, declare under penalty of perjury that the following is true and correct to the

best of my present knowledge, information, and belief:

   1. I am a citizen of the United States, over 18 years of age, and a Plaintiff in this matter.

   2. I am a female resident of Woodbury County, Iowa.

   3.        Woodbury County is part of Iowa’s Fourth Congressional District as outlined in Senate

Bill 621, which takes effect beginning with elections in 2022.

   4. From 2012 to 2018, I served on the District Judicial Nominating Commission for District

3B. As a commissioner, I interviewed candidates to be judges on Iowa’s district courts. I would

like to serve my community by interviewing candidates for Iowa’s appellate courts as a member

of the State Judicial Nominating Commission.

   5. The next election for the State Judicial Nominating Commission will occur in January

2023. I would like to stand for election to the State Judicial Nominating Commission. The Iowa




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